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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA               )
                                       )
       v.                              )                             No. 1:21-cr-00041-JL
                                       )
IAN FREEMAN, ET AL                     )
_______________________________________)

                                              ORDER

       Upon consideration of the government’s motion for a protective order regarding

discovery provided to defense counsel pursuant to Fed. R. Crim. P. 16(d)(1), it is hereby

                                            ORDERED

   (1) For purposes of this Order, the term “discovery” includes all discovery in whatever

format provided by the government to the defense. The term “sensitive discovery” includes

records from financial institutions (including but not limited to banks, credit unions, and virtual

currency exchanges) and copies of electronic devices seized from defendants (including but not

limited to cellular telephones and computers). Sensitive discovery will be identified as such by

the government.

   (2) For purposes of this Order, the term “defense team” means defense counsel, defense

counsel’s staff, and anyone directly engaged by defense counsel to assist in preparing and

presenting a defense in this case including expert witnesses, private investigators, and any other

professional consultants participating in preparing the defense. The term defense team does not

include the defendant.

   (3) The discovery, including sensitive discovery, shall be used by the defendants and the

defense team only as necessary to prepare and present a defense in this case.
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   (4) Defense counsel shall provide copies of the discovery only to other members of the

defense team and the defendants.

   (5) The defense team and defendants shall not further disseminate discovery including

sensitive discovery or disclose to others the contents of the discovery without further order of the

Court, which defense counsel may seek ex parte.

   (6) The defense team shall not provide copies of sensitive discovery to defendants or anyone

outside the defense team. The defense team may review copies of sensitive discovery with

defendants but may not allow defendants to copy or disseminate any information in the sensitive

discovery.

   (7) The defense team shall redact all PII, defined as the information identified in Rule 49.1(a)

of the Federal Rules of Criminal Procedure, from discovery before presenting any discovery

publicly, for example, as an exhibit in Court.

   (8) Should either party seek clarification or modification of this order, they are ordered to

consult with each other in the first instance. This order may be amended at any time by

agreement of the parties. If informal efforts to reach an agreement fail, any party may seek

modification of the order, which the Court may in its discretion grant, after allowing all parties

an opportunity to respond.




          4/29/2021
   Date: ____________                            ________________________
                                                 Hon. Joseph Laplante United
                                                 States District Judge
